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      On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                       the District of Columbia Bar does hereby certify that



                          John Stephen Simms
          was duly qualified and admitted on September 18, 1984 as an attorney and counselor entitled to
                        practice before this Court; and is, on the date indicated below, a(n)
                                  ACTIVE member in good standing of this Bar.




                                                                               In Testimony Whereof,
                                                                           I have hereunto subscribed my
                                                                           name and affixed the seal of this
                                                                                Court at the City of
                                                                           Washington, D.C., on February
                                                                                      23, 2022.




                                                                                 JULIO A. CASTILLO
                                                                                   Clerk of the Court




                                                                       Issued By:
                                                                                District of Columbia Bar Membership




    For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                        memberservices@dcbar.org.
